        Case 2:24-cv-01216-RPK-LGD Document 4 Filed 02/20/24 Page 1 of 2 PageID #: 23

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New   York
                                                                             __________

     ALFREDO VASQUEZ, on behalf of himself,                          )
 individually, and all other persons similarly situated,             )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. FY53./*'
                                                                     )
  EUROPEAN AMERICAN WASTE SERVICES INC.                              )
           and FRANK OZPOLAT,                                        )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) EUROPEAN AMERICAN WASTE SERVICES INC. -
                                                                             1000 Tenth Street, Ronkonkoma, New York 11779

                                           FRANK OZPOLAT - 1000 Tenth Street, Ronkonkoma, New York 11779




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matthew J. Farnworth, Esq.
                                           Peter A. Romero, Esq.
                                           Romero Law Group PLLC
                                           490 Wheeler Road, Suite 277
                                           Hauppauge, New York 11788


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                              #3&//"#.")0/&:
                                                                              CLERK OF COURT


Date:          
                                                                                          SSignature off Cl
                                                                                                         Clerkk or D
                                                                                                                   Deputy Clerk
         Case 2:24-cv-01216-RPK-LGD Document 4 Filed 02/20/24 Page 2 of 2 PageID #: 24

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
